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UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

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CHAPTER 13 PLAN (Individual Adjustment of Debts)

 

 

 

 

 

 

| Original Plan
| Amended Plan (Indicate Ist, 2nd, etc. Amended, if applicable)
[m] 13th Modified Plan (Indicate Ist, 2nd, etc. Modified, if applicable)
DEBTOR: Delfino Rodriguez JOINT DEBTOR: CASE NO.: 16-15317-MAM
SS#: xxx-xx- 5859 SS#: xxx-xx-
1 NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

The valuation of a secured claim, set out in Section III, which may result in a
partial payment or no payment at all to the secured creditor

Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
out in Section III

Nonstandard provisions, set out in Section VIII [_] Included [m] Not included
IL. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

[_] Included [m] Not included

 

[_] Included [m] Not included

 

 

 

 

 

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

1. $989.30 formonths_ 1 to 43 ;
2. $3,228.85 formonths 44 to 54 ;
3. $529.35 formonths 55 to 60 _;
B. DEBTOR(S)' ATTORNEY'S FEE: []NONE- [|] PROBONO
Total Fees: $6400.00 Total Paid: $3900.00 Balance Due: $2500.00
Payable $58.14 /month (Months 1 to 43 )

Allowed fees under LR 2016-1(B)(2) are itemized below:
$525 inc $25 cost for mod 2/6/17; $525 inc $25 cost for mod 6/15/17; $525 inc $25 cost for mod 1/7/18; $525 inc $25 cost for mod
6/24/19; $525 inc $25 cost for mod 11/26/19

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
Til. TREATMENT OF SECURED CLAIMS

A. SECURED CLAIMS: [|] NONE

[Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:

 

 

 

 

 

 

1. Creditor: Oewen Loan Servicing LLC
Address: Research Dept Arrearage/ Payoff on Petition Date $14,706.02
inet Rd Arrears Payment (Cure) $176.54 /month(Months_1_ to 43_)
WPB, FL 33409 Arrears Payment (Cure) $646.80 /month (Months 44 to 54 )
Regular Payment (Maintain) $631.79 /month(Months 1 to 43 )

 

 

 

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riguez Case number: 16-15317-MAM

Last 4 Digits of Regular Payment (Maintain) $1,993.93 /month (Months 44 to 54 )
Account No.: 3610
Other:
[m] Real Property Check one below for Real Property:

[m Principal Residence [m]Escrow is included in the regular payments

[_|Other Real Property [_]The debtor(s) will pay [m|taxes [_Jinsurance directly
Address of Collateral:

33 Plummage Lane, WPB, FL 33415 (Claim #5)

[_] Personal Property/Vehicle

Description of Collateral:

 

 

2. Creditor: pheasant Run HOA c/o Anchor Commercial Bank

 

 

 

Address: PO Box 18639 Arrearage/ Payoff on Petition Date $1,142.39
WPB, FL 33409 Arrears Payment (Cure) $13.70 /month(Months 1 to 43 )
Last 4 Digits of Arrears Payment (Cure) $50.31 ‘month (Months 44 to 54 )
Account No.: none Regular Payment (Maintain) $39.49 /month(Months 1 to 43 )
Regular Payment (Maintain) $145.07 ‘month (Months 44 to 54 )
Other:
[m] Real Property Check one below for Real Property:
[m [Principal Residence [_ Escrow is included in the regular payments
[Other Real Property [m|The debtor(s) will pay [mjtaxes [m]insurance directly
Address of Collateral:

33 Plummage Lane, WPB, FL 33415 (Claim #6)

[_] Personal Property/Vehicle

Description of Collateral:

 

 

3. Creditor: Florida Tax Certificate Fund, LLC

 

 

 

Address: 6210 Pasadena Pt Blvd S Arrearage/ Payoff on Petition Date $1,225.20
Gulfport, FL 33707 Payoff (Including .25% monthly interest) $14.69 /month(Months 1 to 43 )

Last 4 Digits of Payoff (Including .25% monthly interest) $53.94 ‘month (Months 44 to 54 )
Account No.: none
Other:
[m] Real Property Check one below for Real Property:

[m Principal Residence [_]Escrow is included in the regular payments

[_|Other Real Property [m]The debtor(s) will pay [m|taxes [mJinsurance directly
Address of Collateral:

33 Plummage Lane, WPB, FL 33415
(2015 RE Taxes - Claim #7)

[_] Personal Property/Vehicle

Description of Collateral:

 

 

4. Creditor: Mikon Financial Services, Inc

 

 

 

 

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riguez Case number: 16-15317-MAM
Address: 780 NW 42nd Ave Arrearage/ Payoff on Petition Date $1,028.00
Miami, FL 33126 Payoff (Including .25% monthly interest) $12.33 /month(Months 1 to 43 )
Payoff (Including .25% monthly interest) $45.27 /month (Months 44 to 54 )
Last 4 Digits of
Account No.: none
Other:
[m] Real Property Check one below for Real Property:
[m|Principal Residence [_ Escrow is included in the regular payments
[Other Real Property [m|The debtor(s) will pay [mjtaxes [m]insurance directly
Address of Collateral:
33 Plummage Lane, WPB, FL 33415 (Claim #8)
[_] Personal Property/Vehicle
Description of Collateral:

 

 

 

 

B. VALUATION OF COLLATERAL: [|] NONE

C. LIEN AVOIDANCE [mg] NONE

D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
distribution fom the Chapter 13 Trustee.

[§] NONE

E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
fom the Chapter 13 Trustee.

{=| NONE
IV. | TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]
A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: [mt] NONE
B. INTERNAL REVENUE SERVICE: [_] NONE
Total Due: $2,365.40 Total Payment $2,365.40
Payable: $394.23 /month (Months 55 _ to 60 )

 

 

 

 

C. DOMESTIC SUPPORT OBLIGATION(S): [mi] NONE
D. OTHER: [mg] NONE
V. TREATMENT OF UNSECURED NONPRIORITY CREDITORS
A. Pay $87.00 /month (Months 55 to 60 )
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
B. [_] If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
C. SEPARATELY CLASSIFIED: [mi] NONE

*Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
creditors pursuant to 11 U.S.C. § 1322.

VI. EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
section shall not receive a distribution from the Chapter 13 Trustee.

[m] NONE
VII. | INCOME TAX RETURNS AND REFUNDS: [lj] NONE
VIII. NON-STANDARD PLAN PROVISIONS [mi] NONE

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PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 

 

 

Debtor Joint Debtor
Delfino Rodriguez Date Date
/s/ Drake Ozment, Atty for Debtor November 26, 2019
Attorney with permission to sign on Date

Debtor(s)’ behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII.

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